Case 2:16--cr 20697- GCS- EAS ECF No. 1 filed 09/26/16 Page|D. 1 Page 1 014 v '
AUSA: Louis Crisostomo Te|ephOrle' 313- 226- 9160

. Speclal Agent » : Nei| Gavin, FB| Te|ephone:_313-965-2323
AO 91 (Rev. 08/09) Crimina| Complaint

 

UNITED STATES DISTRICTCOURT
' for the ` v
Eastern District of Michigan

United States of America,

 

Plaintif£ , l case: 2:16-mj-30436
l V' ’ l Assigned To : Unassigned 5
' 1 Assign. Date : 9/26/2016 l
l

Description: CMP USA V. SEALED MATTER (SO)
Eugene Reese

Defendant(s).

 

CRIMINAL COMPLAINT

 

I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

 

 

 

, On or about the date(s) of Mav 19, 2016 ` , in the county of Wavn`e
in the Eastern District of |\/\ichigan , the defendant(s) violated:
Code Sectionv Ojj”e'nse Description
21 U.S.C. § 841 (a)(1) Possession With intent to distribute a controlled substance

1 This criminal complaint is»based on these facts:
See Affidavit ' ` d .

   

Continued on the attached sheet. MN

UC(%LWMMM’ s signature

Nei| Gavin, Si:)ecia| Aoent FB|
Printed name and title

Swom to before me and signed in my presence. 1 l ,.

 

Dat€i September 26. 2016

 

Jua’ge ’s sigjza/Ltg;el j

City and Staf€i D€tl'Oit, N\iChiQan ` |\/lona K. |\/\aizoub U.S. i\/|aqistratejudqe
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AFFIDAVIT IN SUPPORT OF CRIl\/IINAL COl\/[PLAINT
I, NEIL GAVIN, having been duly sworn, state as follows:
1. I arn a Special Agent with the Federal Bureau of lnvestigation and

have been so employed for over twelve years. l am currently assigned to the

.Detroit field office, assigned to the Violent Gang Task Force (VGTF) and charged

with investigating gangs and narcotics trafficking Prior to my present assignment,
l was assigned to the Kansas City field office where l investigated gangs, narcotics
and violent crime.

2. l This affidavit is being submitted in support of a criminal complaint _
alleging that EUGENE REESE has violated 21 U.S.C. § 84l(a)(l).

3. l am aware that 21 U.S.C. § 84l(a)(1) makes it a crime to “possess

with intent to distribute a controlled substance.”

4. Because this affidavit is being submitted for the limited purpose of
establishing probable cause in support of a criminal complaint charging REESE
with then above listed violations, I have not included each and every fact known to
me concerning this investigation l have set forth only the facts that I believe are
necessary to establish probable cause to believe the defendant committed the

offense alleged in the complaint

5 . On May 19, 2016, at approximately 4:20 p.m. REESE was a

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passenger in a vehicle which was stopped by the Michigan State Police traveling
southbound on I-75 near the SouthHuron River exit. The vehicle was stopped for
traffic violations of tailgating and driving on the yellow line. Duringthe stop, the
driver of the vehicle, Melissa Carny, told the police officer that she was on her way
to West Virginia with her friend Betty Armstrong, who was seated in the front
passenger seat. Carny told the police officer that REESE, who was seated in the
back seat, was Armstrong’s boyfriend. Carny consented to a search of her Vehicle.

6. v During the consent search of the vehicle, a false WD-40 can was
discovered under the driver’s seat near where REESE’s feet were placed. The
inside of the can was coated with mustard and pepper. Further inspection revealed
the can contained a baggie of suspected heroin. An inspection of the vehicle
revealed ’a crest and air vent that prevented access to the area the can was found by
the driver.

7. Upon the discovery of the suspected narcotics, Carny, Armstrong, and

REESE were arrested and transported to the Metro South Post. REESE was

'~ advised of his Miranda rights and agreed to waive his rights and talk with law

enforcement During the interview, REESE admitted that the narcotics found
inside the can was indeed heroin, and that it was approximately 70 grams. REESE

further added there was an additional 15 grams of heroin located inside a lint roller

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in the vehicle. The Michigan State Police recovered these narcotics as well.
REESE admitted to obtaining the heroin for distribution and that he was traveling i'
to West Virginia to sell the heroin down there.

8. Both Carny and Armstrong were advised of their Miranda rights and
interviewed by law enforcement Both stated they had no knowledge of the
narcotics found inside the vehicle. l

9. Based on my training, eXperience, and information provided in this
affidavit l believe that EUGENE REESE violated 21 U. S. C. § 841(a)(1).

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Njeil Gavin
Special Agent, FBIv

Subscribed and sworn
before me this 26th day of September, 2016

datat/ ttt/Ma

Honorable Mona K Maj/
United States Magistrate Judge

 

